Case 2:04-Cv-02844-.]PI\/|-tmp Document 3 Filed 08/30/05 Page 1 of 2 Page|D 14

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wEsTERN DISTRICT oF TF.:NNESSEEns Aus 30 AH 7=1.5
wEs-:'ERN DIVISION

 

 

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clm<,u.s. 511st
UNITED STATES OF AMERICA, JUDGHENT IN A. CIVIL AND CRIMINAL
CASE
Plaintiff,
v. Cv. NO. 04-2844-M1/P

Cr. No. 02-20308-M1
CHRISTOPI'IER R. CASEY,

Defendant.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came on for consideration by the
Court. The issues presented have been considered and a decision
has been rendered.

IT IS THEREFOR.E ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Order Correcting the Docket, Order Denying
Motion Pursuant to 28 U. S. C. § 2255, Order Denying Certificate of
Appealability, and Order Certifying Appeal Not Taken in Good
Faith, entered August §§O 2005, this case is DISMISSED.

AP PROVED:

MWM

. MCCALLA
UNI ED STATES DIS'I‘RICT JUDGE

’Ww 60 200 § THoMAs M. eouLo

DATE L“/ ' Clerk of Court

Thfs document entered on the docket shaft in compliance (§S Del§§;y Cle::j
w|th Ru|e 58 and/or 79(a} FHCP on g '§'0 'O_§ z

 

 

 

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02844 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

